Case 2:25-cv-00266-JCN        Document 3-1        Filed 06/02/25   Page 1 of 12   PageID #:
                                             19

                              SETTLEMENT AGREEMENT

       This Settlement Agreement (“Settlement Agreement”) is entered into among the

United States of America, acting through the United States Department of Justice and

on behalf of the Office of Inspector General (“OIG-HHS”) of the United States

Department of Health and Human Services (“HHS”) (collectively, the “United States”),

the State of Maine, on behalf of its agency the Maine Department of Health and Human

Services (“Maine DHHS”) (collectively, “Maine”), and Defendant The Opportunity

Alliance (“Defendant”), (hereafter collectively referred to as “the Parties”), through their

authorized representatives.

                                        RECITALS

       A.     Defendant operates Morrison Place, a residential treatment program for

homeless individuals who have a major mental illness and/or a substance use disorder.

During the timeframe relevant to this action, all Morrison Place clients were enrolled

in MaineCare and/or Medicare, and Defendant operated Morrison Place pursuant to

Section 97 of the MaineCare Benefits Manual. Residents of Morrison Place are

admitted based on MaineCare’s eligibility and approval process.

       B.     On May 22, 2025, the United States and Maine filed an action in the

United States District Court for the District of Maine, captioned United States v. The

Opportunity Alliance, 2:25-cv-00266-JCN (the “Civil Action”).

       C.     The United States and Maine contend that, from July 2018 through June

2021, Defendant caused to be submitted claims for payment to the Medicare Program,

Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395-1395lll (“Medicare”) and the

MaineCare Program, 42 U.S.C. §§ 1396-1396w-5 (“MaineCare”), which is Maine’s

Medicaid program.




                                             1
Case 2:25-cv-00266-JCN       Document 3-1        Filed 06/02/25   Page 2 of 12    PageID #:
                                            20
       D.     The United States and Maine contend that they have certain civil claims

against The Opportunity Alliance arising from the submission of false claims for

payment to Medicare and MaineCare, specifically the submission of claims by a

third-party laboratory for payment for the urine drug testing of Morrison Place

clients by that third-party laboratory from July 2018 through June 2021. The

authority to test these clients was based on a test requisition form that Defendant

sent to the client’s primary care provider (or another provider who previously had

treated the client) for that provider’s signature. However, neither the test requisition

form Defendant provided to the client’s provider nor the cover letter that sometimes

accompanied the test requisition form indicated that the requisition would be

treated as a standing order, pursuant to which three tests would be ordered each

week, without exception and without regard for an individual client’s individualized

treatment needs, for up to a full year. Such tests were therefore performed without a

provider order, were excessive, not individually determined by a provider to be

medically necessary, and were utilized in part by Defendant as a means of

performing residential monitoring in violation of relevant MaineCare rules. That

conduct is referred to below as the “Covered Conduct.”

       E.     This Settlement Agreement is neither an admission of liability by

Defendant nor a concession by the United States that its claims are not well-founded.

       F.     To avoid the delay, uncertainty, inconvenience, and expense of protracted

litigation of the above claims, and in consideration of the mutual promises and

obligations of this Settlement Agreement, the Parties agree and covenant as follows:

                              TERMS AND CONDITIONS

       1.     Defendant shall pay to the United States Three Hundred Forty-Six

Thousand, Three Hundred Sixty-Nine Dollars and Eighty-Seven Cents ($346,369.87)


                                             2
Case 2:25-cv-00266-JCN       Document 3-1        Filed 06/02/25   Page 3 of 12   PageID #:
                                            21
(“Settlement Amount”), of which $192,427.71 is restitution, no later than 30 days after

the Effective Date of this Agreement by electronic funds transfer pursuant to written

instructions to be provided by the Office of the United States Attorney for the District of

Maine. The Financial Litigation Unit of the Office of the United States Attorney for the

District of Maine shall allocate such funds between federal and state payees as follows:

              a.     $233,801.93 to the United States, which is the sum of $200,904.45

representing 64.09%, the average over the period of the Covered Conduct of the United

States’ Federal Medical Assistance Percentage share of $313,472.39, the amount due for

false claims to MaineCare, plus $32,897.48, the amount due for false claims to Medicare

(the “Federal Settlement Amount”); and

              b.     $112,567.94 to the State of Maine, representing 35.91%, the

average over the period of the Covered Conduct of the remaining State Medical

Assistance Percentage share of $313,472.39, the amount due for false claims to

MaineCare (the “State Settlement Amount”).

       2.     Subject to the exceptions in Paragraph 4 (concerning reserved claims)

below, and conditioned upon the United States’ receipt of the Federal Settlement

Amount, the United States releases Defendant from any civil or administrative

monetary claim the United States has for the Covered Conduct under the False Claims

Act, 31 U.S.C. §§ 3729-3733; the Civil Monetary Penalties Law, 42 U.S.C. § 1320a-7a; the

Program Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-3812; or the common law theories

of payment by mistake, unjust enrichment, and fraud.

       3.     Subject to the exceptions in Paragraph 4 (concerning reserved claims)

below and conditioned upon Defendant’s full payment of the State Settlement Amount,

Maine releases Defendant from any civil or administrative monetary claim Maine has




                                             3
Case 2:25-cv-00266-JCN      Document 3-1           Filed 06/02/25   Page 4 of 12   PageID #:
                                              22
for the Covered Conduct under 22 M.R.S.A. § 15 or the common law theories of payment

by mistake, unjust enrichment, and fraud.

      4.     Notwithstanding the releases given in Paragraphs 2 and 3 of this

Agreement, or any other term of this Agreement, the following claims and rights of the

United States and Maine are specifically reserved and are not released:

             a.     Any liability arising under Title 26, U.S. Code (Internal Revenue

                    Code) or Title 36, Maine Revised Statutes (Maine Tax Code);

             b.     Any criminal liability;

             c.     Except as explicitly stated in this Agreement, any administrative

                    liability or enforcement right, including mandatory or permissive

                    exclusion from Federal health care programs;

             d.     Any civil or administrative liability that any person or entity has or

                    may have to the United States (or its agencies), Maine (or its

                    agencies), or to individual consumers or state program payors

                    under any statute, regulation, or rule not expressly covered by the

                    releases in Paragraphs 2 and 3 above, including without limitation,

                    any and all of the following claims: (1) federal or state antitrust

                    violations; and (2) claims involving unfair and/or deceptive acts

                    and practices and/or violations of consumer protection laws;

             e.     Any liability to the United States (or its agencies) or Maine (or its

                    agencies) for any conduct other than the Covered Conduct;

             f.     Any liability based upon obligations created by this Agreement; and

             g.     Any liability of individuals.

       5.    Defendant waives and shall not assert any defenses Defendant may have to

any criminal prosecution or administrative action relating to the Covered Conduct that


                                              4
Case 2:25-cv-00266-JCN        Document 3-1        Filed 06/02/25   Page 5 of 12   PageID #:
                                             23
may be based in whole or in part on a contention that, under the Double Jeopardy Clause

in the Fifth Amendment of the Constitution, or under the Excessive Fines Clause in the

Eighth Amendment of the Constitution, this Agreement bars a remedy sought in such

criminal prosecution or administrative action.

      6.     Defendant fully and finally releases the United States and Maine, and their

respective agencies, officers, agents, employees, and servants, from any claims

(including attorney’s fees, costs, and expenses of every kind and however denominated)

that Defendant has asserted, could have asserted, or may assert in the future against the

United States or Maine, or their respective agencies, officers, agents, employees, and

servants related to the Covered Conduct and the United States’ or Maine’s investigation

and prosecution thereof.

      7.     The Settlement Amount shall not be decreased as a result of the denial of

claims for payment now being withheld from payment by any Medicare contractor (e.g.,

Medicare Administrative Contractor, fiscal intermediary, carrier) or any state payer,

related to the Covered Conduct; and Defendant agrees not to resubmit to any Medicare

contractor or any state payer any previously denied claims related to the Covered

Conduct, agrees not to appeal any such denials of claims, and agrees to withdraw any

such pending appeals.

      8.     Defendant agrees to the following:

             a.       Unallowable Costs Defined: All costs (as defined in the Federal

Acquisition Regulation, 48 C.F.R. § 31.205-47; and in Titles XVIII and XIX of the Social

Security Act, 42 U.S.C. §§ 1395-1395lll and 1396-1396w-5; and the regulations and

official program directives promulgated thereunder) incurred by or on behalf of

Defendant, its present or former officers, directors, employees, shareholders, and agents

in connection with:


                                             5
Case 2:25-cv-00266-JCN        Document 3-1        Filed 06/02/25   Page 6 of 12    PageID #:
                                             24


              (1)    the matters covered by this Agreement;

              (2)    the United States’ audit and civil investigation of the matters

                     covered by this Agreement;

              (3)    Defendant’s investigation, defense, and corrective actions

                     undertaken in response to the United States’ audit and civil

                     investigation in connection with the matters covered by this

                     Agreement (including attorneys’ fees);

              (4)    the negotiation and performance of this Agreement; and

              (5)    the payment Defendant makes to the United States pursuant to this

                     Agreement,


are unallowable costs for government contracting purposes and under Medicare,

MaineCare or another Medicaid Program, the TRICARE Program, and the Federal

Employees Health Benefits Program (FEHBP) (hereinafter referred to as Unallowable

Costs).

              b.     Future Treatment of Unallowable Costs: Unallowable Costs shall be

separately determined and accounted for by Defendant, and Defendant shall not charge

such Unallowable Costs directly or indirectly to any contracts with the United States or

any State Medicaid program, or seek payment for such Unallowable Costs through any

cost report, cost statement, information statement, or payment request submitted by

Defendant, or any other related corporate entity or its subsidiaries or affiliates to the

Medicare, MaineCare or other Medicaid, TRICARE, or FEHBP Programs.

              c.     Treatment of Unallowable Costs Previously Submitted for Payment:

Defendant further agrees that within 90 days of the Effective Date of this Agreement it

shall identify to applicable Medicare and TRICARE fiscal intermediaries, carriers,


                                              6
Case 2:25-cv-00266-JCN        Document 3-1        Filed 06/02/25   Page 7 of 12    PageID #:
                                             25
and/or contractors, and MaineCare, other Medicaid, and FEHBP fiscal agents, any

Unallowable Costs (as defined in this Paragraph) included in payments previously

sought from the United States, or any State Medicaid program, including, but not

limited to, payments sought in any cost reports, cost statements, information reports, or

payment requests already submitted by Defendant, or any related corporate entity or its

subsidiaries or affiliates, and shall request, and agree, that such cost reports, cost

statements, information reports, or payment requests, even if already settled, be

adjusted to account for the effect of the inclusion of the unallowable costs. Defendant

agrees that the United States, at a minimum, shall be entitled to recoup from Defendant

any overpayment plus applicable interest and penalties as a result of the inclusion of

such Unallowable Costs on previously submitted cost reports, information reports, cost

statements, or requests for payment.

       Any payments due after the adjustments have been made shall be paid to the

United States pursuant to the direction of the Department of Justice and/or the affected

agencies. The United States reserves its rights to disagree with any calculations

submitted by Defendant, or any related corporate entity or its subsidiaries or affiliates

on the effect of inclusion of Unallowable Costs (as defined in this paragraph) on

Defendant, or any related corporate entity or its subsidiaries or affiliates’ cost reports,

cost statements, or information reports.

              d.     Nothing in this Agreement shall constitute a waiver of the rights of

the United States to audit, examine, or re-examine the books and records of Defendant,

or any other related corporate entity to determine that no Unallowable Costs have been

claimed in accordance with the provisions of this paragraph.

       9.     Defendant agrees to cooperate fully and truthfully with the United States’

investigation of individuals and entities not released in this Agreement. Upon


                                              7
Case 2:25-cv-00266-JCN       Document 3-1         Filed 06/02/25   Page 8 of 12   PageID #:
                                             26
reasonable notice, Defendant shall encourage, and agrees not to impair, the cooperation

of any directors, officers, and employees of Defendant or any other related corporate

entity, and shall use its best efforts to make available, and encourage, the cooperation of

former directors, officers, and employees for interviews and testimony, consistent with

the rights and privileges of such individuals. Defendant further agrees to furnish to the

United States, upon request, complete and unredacted copies of all non-privileged

documents, reports, memoranda of interviews, and records in its possession, custody, or

control concerning any investigation of the Covered Conduct that Defendant, or any

other related corporate entity has undertaken, or that has been performed by another on

its behalf.

       10.    This Agreement is intended to be for the benefit of the Parties only. The

Parties do not release any claims against any other person or entity, except to the extent

provided for in Paragraph 11 (waiver for beneficiaries paragraph), below.

       11.    Defendant agrees that it waives and shall not seek payment for any of the

health care billings covered by this Agreement from any health care beneficiaries or

their parents, sponsors, legally responsible individuals, or third-party payors based

upon the claims defined as Covered Conduct.

       12.    Upon receipt of the payment described in Paragraph 1, above, the Parties

shall promptly sign and file in the Civil Action a Joint Stipulation of Dismissal of the

Civil Action pursuant to Rule 41(a)(1).

       13.    Each Party shall bear its own legal and other costs incurred in connection

with this matter, including the preparation and performance of this Agreement.

       14.    Each Party and signatory to this Agreement represents that it freely and

voluntarily enters into this Agreement without any degree of duress or compulsion.




                                             8
Case 2:25-cv-00266-JCN       Document 3-1        Filed 06/02/25   Page 9 of 12     PageID #:
                                            27
       15.    This Agreement is governed by the laws of the United States. The

exclusive venue for any dispute relating to this Agreement is the United States District

Court for the District of Maine. For purposes of construing this Agreement, this

Agreement shall be deemed to have been drafted by all Parties to this Agreement and

shall not, therefore, be construed against any Party for that reason in any subsequent

dispute.

       16.    This Agreement constitutes the complete agreement between the Parties.

This Agreement may not be amended except by written consent of the Parties.

       17.    The undersigned counsel represent and warrant that they are fully

authorized to execute this Agreement on behalf of the persons and entities

indicated below.

       18.    This Agreement may be executed in counterparts, each of which

constitutes an original and all of which constitute one and the same Agreement.

       19.    This Agreement is binding on Defendant’s successors, transferees,

heirs, and assigns.

       20.    All Parties consent to the United States’ disclosure of this Agreement,

and information about this Agreement, to the public.

       21.    This Agreement is effective on the date of signature of the last signatory

to the Agreement (Effective Date of this Agreement). Facsimiles and electronic

transmissions of signatures shall constitute acceptable, binding signatures for

purposes of this Agreement.




                                             9
Case 2:25-cv-00266-JCN   Document 3-1     Filed 06/02/25   Page 10 of 12   PageID #:
                                        28
Case 2:25-cv-00266-JCN   Document 3-1     Filed 06/02/25   Page 11 of 12   PageID #:
                                        29
Case 2:25-cv-00266-JCN   Document 3-1     Filed 06/02/25   Page 12 of 12   PageID #:
                                        30



               DEFENDANT THE OPPORTUNITY ALLIANCE




DATED: May 23, 2025                BY:
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                                   On behalf of The Opportunity Alliance




                                        12
